                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA



COLIN THOMAS,                          )
                                       )
                            Plaintiff, )
                                       )
      vs.                              )
                                       )
SCOOPER TROOPER, LLC,                  )
                                       )                    No. 3:19-cv-0227-HRH
                            Defendant. )
_______________________________________)


                                        ORDER

                                      Case Dismissed
       It is hereby noticed that the above case has been settled. This case is dismissed

with prejudice, each side to bear their own costs and attorney fees based on plaintiff’s

notice of settlement.1
       DATED at Anchorage, Alaska, this 18th day of November, 2019.



                                                 /s/ H. Russel Holland
                                                 United States District Judge




       1
        Docket No. 10.

ORDER – Case Dismissed                                                                     -1-


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